3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 354-2   Page 1 of 4




                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit B
3:21-cv-03302-MGL-TJH-RMG     Date Filed 09/02/22   Entry Number 354-2      Page 2 of 4




                                                                            Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE
        CONFERENCE OF THE NAACP
 5
                        and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF                  Case No.
 7      AND ALL OTHER SIMILARLY SITUATED                    3:21-CV-03302
        PERSONS,                                            JMC-TJH-RMG
 8
                                 Plaintiffs,
 9
                        Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                                Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     CHARLES TERRENI
                  Tuesday, August 16, 2022
24
25

                                 Veritext Legal Solutions
     212-267-6868                  www.veritext.com                          516-608-2400
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 354-2   Page 3 of 4




                                                                  Page 190

 1                                  TERRENI
 2             always have to be.             I assume you can
 3             comply with Section 2 without having
 4             to consider race as the predominant
 5             factor but it could be.
 6                  Q.      What about remedying
 7             historical discrimination, has that
 8             been recognized as a compelling
 9             state interest?
10                  A.      It may have been recognized
11             as a compelling state interest but
12             in the current redistricting
13             framework, as I understand it,
14             unless it's expressed through the
15             Voting Rights Act it wouldn't in and
16             of itself be -- I don't know there
17             would be a compelling state interest
18             for using race as the predominant
19             factor in redistricting.                   I never
20             really had to encounter that.
21                  Q.      If staff was instructed not
22             to consider race during
23             congressional redistricting, who
24             would have made that decision on
25             behalf of the Senate?

                               Veritext Legal Solutions
     212-267-6868                www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 354-2   Page 4 of 4




                                                                   Page 191

 1                                   TERRENI
 2                       MR. GORE:       Again, I'm just
 3              going to object to the extent this
 4              calls for attorney-client
 5              communications.            And the witness
 6              can answer to the extent he can do
 7              so without divulging confidential
 8              or privileged information.
 9                  A.      Well, the question is if
10             staff were considered -- were
11             instructed not to consider race in
12             redistricting who would have
13             instructed staff in that fashion, is
14             that -- did I restate your question
15             fairly?
16                  Q.      Yes.
17                  A.      Well, I don't think anybody
18             could have instructed staff in that
19             regard better than the chairman or
20             the subcommittee and the vote if
21             that guidance was given.                    However,
22             if that guidance were given, it
23             would have been given by counsel,
24             me, Mr. Gore, Mr. Fiffick.
25                  Q.      Are you aware whether

                                Veritext Legal Solutions
     212-267-6868                 www.veritext.com                      516-608-2400
